Case 1:22-cv-21445-DPG Document 12-1 Entered on FLSD Docket 08/01/2022 Page 1 of 7




                            Exhibit “1”
  Case 1:22-cv-21445-DPG Document 12-1 Entered on FLSD Docket 08/01/2022 Page 2 of 7



LAKEVIEW LOAN SERVICING, LLC



                                                                                     <<Date>> (Format: Month Day, Year)
<<first_name>> <<middle_name>> <<last_name>> <<suffix>>
<<address_1>>
<<address_2>>
<<city>>, <<state_province>> <<postal_code>>
<<country>>




                                                 Notice of Data Breach
Dear <<first_name>> <<middle_name>> <<last_name>> <<suffix>>,
Lakeview Loan Servicing, LLC (“Lakeview”) understands the importance of protecting the information we maintain. We
are writing to inform you of an incident that involved some of your information. This notice explains the incident, measures
we have taken, and steps that you may consider taking.
What Happened?
Lakeview owns the servicing rights to your mortgage loan. A security incident involving unauthorized access to our
file servers was identified in early December 2021. Steps were immediately taken to contain the incident, notify law
enforcement, and a forensic investigation firm was engaged. The investigation determined that an unauthorized person
obtained access to files on our file storage servers from October 27, 2021 to December 7, 2021. The accessed files were
then reviewed by our investigation team to identify the content.
What Information Was Involved?
On January 31, 2022, the review process generated a preliminary list of individuals, including you, whose name, address,
loan number, and Social Security number were included in the files. We then took extensive measures to review that
list to ensure accuracy and prepare the list to be used to mail notification letters. For some, the accessed files may also
have included information provided in connection with a loan application, loan modification, or other items regarding loan
servicing. The additional loan related information in the files is not the same for all individuals.
What We Are Doing.
We regret that this incident occurred and apologize for any inconvenience. Additional steps are being taken to further
enhance our existing security measures.
What You Can Do.
We engaged Kroll, a third party with monitoring expertise, to provide identity monitoring services at no cost to you for
one year. The identity monitoring services include Credit Monitoring, Fraud Consultation, and Identity Theft Restoration.
    Visit https://enroll.krollmonitoring.com to activate and take advantage of your identity monitoring services.
    You have until <<b2b_text_6(activation deadline)>> to activate your identity monitoring services.
    Membership Number: <<Membership Number s_n>>
For more information on your complimentary one-year membership, as well as additional steps you can take in response
to the incident, please see the additional information provided in this letter and visit info.krollmonitoring.com.
For More Information
If you have questions about this notice, please call (855) 541-3564 from 8:00 a.m. – 5:30 p.m. Central Time, Monday
through Friday (excluding major US holidays).
Sincerely,




Judith Tribble
SVP, Chief Compliance Officer
Lakeview Loan Servicing, LLC
                                                                                                                    ELN-13282
  Case 1:22-cv-21445-DPG Document 12-1 Entered on FLSD Docket 08/01/2022 Page 3 of 7



                        TAKE ADVANTAGE OF YOUR IDENTITY MONITORING SERVICES
                       You have been provided with access to the following services from Kroll:
Triple Bureau Credit Monitoring
You will receive alerts when there are changes to your credit data at any of the three national credit bureaus—for
instance, when a new line of credit is applied for in your name. If you do not recognize the activity, you’ll have the option
to call a Kroll fraud specialist, who will be able to help you determine if it is an indicator of identity theft.
Fraud Consultation
You have unlimited access to consultation with a Kroll fraud specialist. Support includes showing you the most effective
ways to protect your identity, explaining your rights and protections under the law, assistance with fraud alerts, and
interpreting how personal information is accessed and used, including investigating suspicious activity that could be tied
to an identity theft event.
Identity Theft Restoration
If you become a victim of identity theft, an experienced Kroll licensed investigator will work on your behalf to resolve
related issues. You will have access to a dedicated investigator who understands your issues and can do most of the
work for you. Your investigator will be able to dig deep to uncover the scope of the identity theft, and then work to resolve it.
If you prefer to activate these services offline and receive monitoring alerts via the US Postal Service, you may activate
via our automated phone system by calling 1-888-653-0511, Monday through Friday, 8:00 a.m. to 5:30 p.m. Central Time,
excluding major U.S. holidays. Please have your membership number located in your letter ready when calling. Please
note that to activate monitoring services, you will be required to provide your name, date of birth, and Social Security
number through our automated phone system.


Kroll’s activation website is only compatible with the current version or one version earlier of Chrome, Firefox, Safari and Edge.
To receive credit services, you must be over the age of 18 and have established credit in the U.S., have a Social Security number in your name,
and have a U.S. residential address associated with your credit file.
  Case 1:22-cv-21445-DPG Document 12-1 Entered on FLSD Docket 08/01/2022 Page 4 of 7

                                           ADDITIONAL STEPS YOU CAN TAKE
We remind you it is always advisable to be vigilant for incidents of fraud or identity theft by reviewing your account
statements and free credit reports for any unauthorized activity over the next 12 to 24 months. You may obtain a copy of
your credit report, free of charge, once every 12 months from each of the three nationwide credit reporting companies. To
order your annual free credit report, please visit www.annualcreditreport.com or call toll free at 1-877-322-8228. Contact
information for the three nationwide credit reporting companies is as follows:
  • Equifax, PO Box 740241, Atlanta, GA 30374, www.equifax.com, 1-800-685-1111
  • Experian, PO Box 2002, Allen, TX 75013, www.experian.com, 1-888-397-3742
  • TransUnion, PO Box 2000, Chester, PA 19016, www.transunion.com, 1-800-916-8800
If you believe you are the victim of identity theft or have reason to believe your personal information has been misused,
you should immediately contact the Federal Trade Commission and/or the Attorney General’s office in your state. You
can obtain information from these sources about steps an individual can take to avoid identity theft as well as information
about fraud alerts and security freezes. You should also contact your local law enforcement authorities and file a police
report. Obtain a copy of the police report in case you are asked to provide copies to creditors to correct your records.
Contact information for the Federal Trade Commission is as follows:
  • Federal Trade Commission, Consumer Response Center, 600 Pennsylvania Avenue NW, Washington, DC 20580,
    1-877-IDTHEFT (438-4338), www.identitytheft.gov
Fraud Alerts and Credit or Security Freezes:
Fraud Alerts: There are two types of general fraud alerts you can place on your credit report to put your creditors on
notice that you may be a victim of fraud—an initial alert and an extended alert. You may ask that an initial fraud alert be
placed on your credit report if you suspect you have been, or are about to be, a victim of identity theft. An initial fraud alert
stays on your credit report for one year. You may have an extended alert placed on your credit report if you have already
been a victim of identity theft with the appropriate documentary proof. An extended fraud alert stays on your credit report
for seven years.
To place a fraud alert on your credit reports, contact one of the nationwide credit bureaus. A fraud alert is free. The credit
bureau you contact must tell the other two, and all three will place an alert on their versions of your report.
For those in the military who want to protect their credit while deployed, an Active Duty Military Fraud Alert lasts for one
year and can be renewed for the length of your deployment. The credit bureaus will also take you off their marketing lists
for pre-screened credit card offers for two years, unless you ask them not to.
Credit or Security Freezes: You have the right to put a credit freeze, also known as a security freeze, on your credit
file, free of charge, which makes it more difficult for identity thieves to open new accounts in your name. That’s because
most creditors need to see your credit report before they approve a new account. If they can’t see your report, they may
not extend the credit.  
How do I place a freeze on my credit reports? There is no fee to place or lift a security freeze. Unlike a fraud alert,
you must separately place a security freeze on your credit file at each credit reporting company. For information and
instructions to place a security freeze, contact each of the credit reporting agencies at the addresses below:
  • Experian Security Freeze, PO Box 9554, Allen, TX 75013, www.experian.com
  • TransUnion Security Freeze, PO Box 2000, Chester, PA 19016, www.transunion.com
  • Equifax Security Freeze, PO Box 105788, Atlanta, GA 30348, www.equifax.com
You’ll need to supply your name, address, date of birth, Social Security number and other personal information.
After receiving your freeze request, each credit bureau will provide you with a unique PIN (personal identification number)
or password. Keep the PIN or password in a safe place. You will need it if you choose to lift the freeze.
How do I lift a freeze? A freeze remains in place until you ask the credit bureau to temporarily lift it or remove it altogether.
If the request is made online or by phone, a credit bureau must lift a freeze within one hour. If the request is made by mail,
then the bureau must lift the freeze no later than three business days after getting your request.  
If you opt for a temporary lift because you are applying for credit or a job, and you can find out which credit bureau
the business will contact for your file, you can save some time by lifting the freeze only at that particular credit bureau.
Otherwise, you need to make the request with all three credit bureaus.
  Case 1:22-cv-21445-DPG Document 12-1 Entered on FLSD Docket 08/01/2022 Page 5 of 7



PINGORA LOAN SERVICING, LLC



                                                                                    <<Date>> (Format: Month Day, Year)
<<first_name>> <<middle_name>> <<last_name>> <<suffix>>
<<address_1>>
<<address_2>>
<<city>>, <<state_province>> <<postal_code>>
<<country>>




                                                 Notice of Data Breach
Dear <<first_name>> <<middle_name>> <<last_name>> <<suffix>>,
Pingora Loan Servicing, LLC (“Pingora”) understands the importance of protecting the information we maintain. We are
writing to inform you of an incident that involved some of your information. This notice explains the incident, measures we
have taken, and steps that you may consider taking.
What Happened?
Pingora currently or previously owned the servicing rights to a mortgage loan you have or had and used a third party to
provide servicing of your loan. A security incident involving unauthorized access to Pingora file servers was identified
in early December 2021. Steps were immediately taken to contain the incident, notify law enforcement, and a forensic
investigation firm was engaged. The investigation determined that an unauthorized person obtained access to files on
our file storage servers from October 27, 2021 to December 7, 2021. The accessed files were then reviewed by our
investigation team to identify the content.
What Information Was Involved?
On March 7, 2022, the review process generated a list of individuals, including you, whose name, address, loan number,
and Social Security number were included in the files. For some, the accessed files may also have included information
provided in connection with a loan application, loan modification, or other items regarding loan servicing. The additional
loan related information in the files is not the same for all individuals.
What We Are Doing.
We regret that this incident occurred and apologize for any inconvenience. Additional steps are being taken to further
enhance our existing security measures.
What You Can Do.
We engaged Kroll, a third party with monitoring expertise, to provide identity monitoring services at no cost to you for
one year. The identity monitoring services include Credit Monitoring, Fraud Consultation, and Identity Theft Restoration.
    Visit https://enroll.krollmonitoring.com to activate and take advantage of your identity monitoring services.
    You have until <<b2b_text_6(activation deadline)>> to activate your identity monitoring services.
    Membership Number: <<Membership Number s_n>>
For more information on your complimentary one-year membership, as well as additional steps you can take in response
to the incident, please see the additional information provided in this letter and visit info.krollmonitoring.com.
For More Information.
If you have questions about this notice, please call 1-855-541-3607 from 8:00 a.m. – 5:30 p.m. Central Time, Monday
through Friday (excluding major US holidays).
Sincerely,




Ron Bendalin, Chief Compliance Officer
Pingora Loan Servicing, LLC
                                                                                                                   ELN-13535
  Case 1:22-cv-21445-DPG Document 12-1 Entered on FLSD Docket 08/01/2022 Page 6 of 7



                        TAKE ADVANTAGE OF YOUR IDENTITY MONITORING SERVICES
                       You have been provided with access to the following services from Kroll:
Triple Bureau Credit Monitoring
You will receive alerts when there are changes to your credit data at any of the three national credit bureaus—for
instance, when a new line of credit is applied for in your name. If you do not recognize the activity, you’ll have the option
to call a Kroll fraud specialist, who will be able to help you determine if it is an indicator of identity theft.
Fraud Consultation
You have unlimited access to consultation with a Kroll fraud specialist. Support includes showing you the most effective
ways to protect your identity, explaining your rights and protections under the law, assistance with fraud alerts, and
interpreting how personal information is accessed and used, including investigating suspicious activity that could be tied
to an identity theft event.
Identity Theft Restoration
If you become a victim of identity theft, an experienced Kroll licensed investigator will work on your behalf to resolve
related issues. You will have access to a dedicated investigator who understands your issues and can do most of the
work for you. Your investigator will be able to dig deep to uncover the scope of the identity theft, and then work to resolve it.
If you prefer to activate these services offline and receive monitoring alerts via the US Postal Service, you may activate
via our automated phone system by calling 1-888-653-0511, Monday through Friday, 8:00 a.m. to 5:30 p.m. Central Time,
excluding major U.S. holidays. Please have your membership number located in your letter ready when calling. Please
note that to activate monitoring services, you will be required to provide your name, date of birth, and Social Security
number through our automated phone system.


Kroll’s activation website is only compatible with the current version or one version earlier of Chrome, Firefox, Safari and Edge.
To receive credit services, you must be over the age of 18 and have established credit in the U.S., have a Social Security number in your name,
and have a U.S. residential address associated with your credit file.
  Case 1:22-cv-21445-DPG Document 12-1 Entered on FLSD Docket 08/01/2022 Page 7 of 7

                                           ADDITIONAL STEPS YOU CAN TAKE
We remind you it is always advisable to be vigilant for incidents of fraud or identity theft by reviewing your account
statements and free credit reports for any unauthorized activity over the next 12 to 24 months. You may obtain a copy of
your credit report, free of charge, once every 12 months from each of the three nationwide credit reporting companies. To
order your annual free credit report, please visit www.annualcreditreport.com or call toll free at 1-877-322-8228. Contact
information for the three nationwide credit reporting companies is as follows:
  • Equifax, PO Box 740241, Atlanta, GA 30374, www.equifax.com, 1-800-685-1111
  • Experian, PO Box 2002, Allen, TX 75013, www.experian.com, 1-888-397-3742
  • TransUnion, PO Box 2000, Chester, PA 19016, www.transunion.com, 1-800-916-8800
If you believe you are the victim of identity theft or have reason to believe your personal information has been misused,
you should immediately contact the Federal Trade Commission and/or the Attorney General’s office in your state. You
can obtain information from these sources about steps an individual can take to avoid identity theft as well as information
about fraud alerts and security freezes. You should also contact your local law enforcement authorities and file a police
report. Obtain a copy of the police report in case you are asked to provide copies to creditors to correct your records.
Contact information for the Federal Trade Commission is as follows:
  • Federal Trade Commission, Consumer Response Center, 600 Pennsylvania Avenue NW, Washington, DC 20580,
    1-877-IDTHEFT (438-4338), www.identitytheft.gov
Fraud Alerts and Credit or Security Freezes:
Fraud Alerts: There are two types of general fraud alerts you can place on your credit report to put your creditors on
notice that you may be a victim of fraud—an initial alert and an extended alert. You may ask that an initial fraud alert be
placed on your credit report if you suspect you have been, or are about to be, a victim of identity theft. An initial fraud alert
stays on your credit report for one year. You may have an extended alert placed on your credit report if you have already
been a victim of identity theft with the appropriate documentary proof. An extended fraud alert stays on your credit report
for seven years.
To place a fraud alert on your credit reports, contact one of the nationwide credit bureaus. A fraud alert is free. The credit
bureau you contact must tell the other two, and all three will place an alert on their versions of your report.
For those in the military who want to protect their credit while deployed, an Active Duty Military Fraud Alert lasts for one
year and can be renewed for the length of your deployment. The credit bureaus will also take you off their marketing lists
for pre-screened credit card offers for two years, unless you ask them not to.
Credit or Security Freezes: You have the right to put a credit freeze, also known as a security freeze, on your credit
file, free of charge, which makes it more difficult for identity thieves to open new accounts in your name. That’s because
most creditors need to see your credit report before they approve a new account. If they can’t see your report, they may
not extend the credit.  
How do I place a freeze on my credit reports? There is no fee to place or lift a security freeze. Unlike a fraud alert,
you must separately place a security freeze on your credit file at each credit reporting company. For information and
instructions to place a security freeze, contact each of the credit reporting agencies at the addresses below:
  • Experian Security Freeze, PO Box 9554, Allen, TX 75013, www.experian.com
  • TransUnion Security Freeze, PO Box 2000, Chester, PA 19016, www.transunion.com
  • Equifax Security Freeze, PO Box 105788, Atlanta, GA 30348, www.equifax.com
You’ll need to supply your name, address, date of birth, Social Security number and other personal information.
After receiving your freeze request, each credit bureau will provide you with a unique PIN (personal identification number)
or password. Keep the PIN or password in a safe place. You will need it if you choose to lift the freeze.
How do I lift a freeze? A freeze remains in place until you ask the credit bureau to temporarily lift it or remove it altogether.
If the request is made online or by phone, a credit bureau must lift a freeze within one hour. If the request is made by mail,
then the bureau must lift the freeze no later than three business days after getting your request.  
If you opt for a temporary lift because you are applying for credit or a job, and you can find out which credit bureau
the business will contact for your file, you can save some time by lifting the freeze only at that particular credit bureau.
Otherwise, you need to make the request with all three credit bureaus.
